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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-00102-GEB-2
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE STATUS CONFERENCE
13                          v.
                                                        Date: August 25, 2017
14   EDUARDO SALINAS-GARCIA,                            Time: 9:00 a.m.
                                                        Judge: Hon. Garland E. Burrell, Jr.
15                                Defendant.
16

17          Plaintiff United States of America, through its respective counsel, and Defendant Eduardo Salinas-

18 Garcia, through his counsel of record, stipulate that the status conference currently scheduled for August

19 25, 2017, be continued to September 29, 2017, at 9:00 a.m.

20          On May 5, 2017, the Court granted Defendant’s motion to substitute Christopher R. Cosca as

21 defense counsel of record. (ECF No. 84, Order Substituting Attorney.) In the weeks following, the

22 United States forwarded Mr. Cosca all of the discovery previously-produced in this case. This included

23 over 10,000 pages of reports, photos, and affidavit excerpts, as well as several additional compact disks

24 containing videos. Defense counsel began reviewing these materials on receipt, and the parties reset this

25 case for a status conference on July 14, and reset it once again on August 25, 2017. Defense counsel

26 requires additional time to review the voluminous discovery materials, to consult with the Defendant, to
27 conduct investigation and research related to the charges, and to otherwise prepare for trial.

28 / / /

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
30    STATUS CONFERENCE
             Case 2:15-cr-00102-KJM Document 112 Filed 08/24/17 Page 2 of 3


 1          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 2 August 25, 2017, be continued to September 29, 2017, at 9:00 a.m. The parties further agree that time

 3 under the Speedy Trial Act should be excluded from the date this order issues to and including

 4 September 29, 2017, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and

 5 General Order 479, Local Code T4, based on continuity of counsel and defense preparation.

 6          Counsel and the Defendant also agree that the ends of justice served by the Court granting the

 7 requested continuance outweigh the best interests of the public and the Defendant in a speedy trial.

 8                                                        Respectfully submitted,

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10 Dated: August 23, 2017                                 _/s/ Timothy H. Delgado_____________
                                                          TIMOTHY H. DELGADO
11                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States of America
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13 Dated: August 23, 2017                                 _/s/ THD for Christopher R. Cosca_____
                                                          CHRISTOPHER R. COSCA
14                                                        Attorney for Defendant Eduardo Salinas-Garcia
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
30    STATUS CONFERENCE
              Case 2:15-cr-00102-KJM Document 112 Filed 08/24/17 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 Defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including September

 9 29, 2017, shall be excluded from the computation of time within which the trial in this case must be
10 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable

11 time for counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the August

12 25, 2017 status conference shall be continued until September 29, 2017, at 9:00 a.m.

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     Dated: August 24, 2017
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
30    STATUS CONFERENCE
